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6
7
8                   IN THE UNITED STATES DISTRICT COURT
9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
11
12   AVEL BACUDIO, an individual,                   Civil Action No. __________
13                     Plaintiff,                   COMPLAINT FOR DAMAGES
                                                    FOR DEFAMATION
14         v.
                                                    DEMAND FOR JURY TRIAL
15   CLAIRE CONTRERAS, an individual,
                                                    Date:
16                     Defendant.                   Time:
                                                    Dept:
17
                                                    Judge:
18                                                  Complaint Filed:
19
20                                    INTRODUCTION
21         1.    Plaintiff Avel Bacudio (“Plaintiff”) brings this action for defamation
22   against Defendant Claire Eden Contreras (“Defendant”) because she has repeatedly
23   made and published false and defamatory statements about Plaintiff, knowing full
24   well that the statements are false, for the purpose of subjecting Plaintiff to
25   harassment, intimidation, and harm. On or about August 24, September 2, 24, and
26   27, October 27, November 2, 24, 26, and 28, and December 3, in 2023, and January
27   13 in 2024, the Defendant repeatedly and maliciously published false statements
28   that Plaintiff bribed Congressman Sandro Marcos with a Rolex watch, was

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1    receiving kickbacks from government projects, particularly those implemented by
2    the Department of Public Works and Highways (“DPWH”), and that Plaintiff
3    received assistance from First Lady Mrs. Araneta-Marcos to process his and his
4    family’s Schengen visa and US visa, and that the said visas were issued through
5    fraud. The statements are complete and utterly false, and Defendant knew them to
6    be false at the time she repeatedly published them.
7          2.     Defendant knows her statements are baseless and yet published and
8    continuously republishes them. She continues to propagate her lies to all her
9    hundreds of thousands of social media followers, subscribers, or viewers. Defendant
10   knows the falsity of these as she personally knows and has repeatedly stated that the
11   Plaintiff is a former friend. While the Plaintiff would prefer to not give the
12   Defendant any attention she so desperately craves, the damage to the Plaintiff’s
13   reputation has already been done with rumors circulating to the Plaintiff’s clients
14   who questioned him, and some clients had in fact distanced themselves.
15   Accordingly, Plaintiff brings this defamation action to finally hold the Defendant
16   accountable for her continuous false statements and to deter her from engaging in
17   such malicious conduct in the future through her YouTube Channel “Boldyak TV”,
18   Facebook, other social media, accounts.
19                            JURISDICTION AND VENUE
20         3.     This Court has jurisdiction over the subject matter of this action
21   pursuant to 28 U.S.C. § 1332.
22         4.     The parties are of diverse citizenship. Plaintiff is a citizen of the
23   Philippines and resides in Quezon City, Philippines. Plaintiff is informed and
24   believes that Defendant is a citizen of the State of California and a resident of Los
25   Angeles, California.
26         5.     The amount in controversy exceeds $75,000, exclusive of interest and
27   costs. Damages that Plaintiff has suffered and will continue to suffer as a result of
28   the claims asserted herein exceed $75,000.
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1          6.      Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391 as it
2    is where a substantial part of the events giving rise to the claim alleged in this
3    Complaint occurred, it is where the unlawful conducts by Defendant were made. At
4    all relevant times, Defendant has also been a citizen and resident of California.
5    Plaintiff has suffered, and continues to suffer, from the severe impact of the
6    defamatory statements published in Los Angeles, California.
7          7.      This Complaint is properly lodged within the jurisdiction of this Court.
8    This Court has subject matter jurisdiction given that this Court has jurisdiction over
9    civil cases for damages due to defamation. Moreover, the Defendant made and
10   published defamatory statements against Plaintiff through her YouTube Channel
11   “Boldyak TV”, Facebook, other social media, accounts, while being a resident of
12   California.
13         8.      The court has personal jurisdiction over the Defendant as, based on
14   information and belief, and as repeatedly stated by Defendant herself in several
15   public blogs, that she is a resident of Los Angeles, California.
16         9.      It cannot be used as a defense that the acts complained of are outside
17   the statute of limitations as the nature of libelous remarks on the internet is
18   continuous. Even assuming arguendo, that using the single publication rule which
19   is applied to cases involving the internet, this defamation case was filed within one
20   (1) year from the time the defamatory statements were published.
21                                         PARTIES
22         10.     Plaintiff is an individual and is now, and at all times mentioned in this
23   complaint, is a resident of Quezon City, Philippines.
24         11.     Defendant is an individual and is a resident of Los Angeles, California.
25   Based on information, her home address is at 611 S Virgil Avenue, Unit 402, Los
26   Angeles, California, 90005 and her office address is at 9350 Wilshire Boulevard,
27   Suite 203, Beverly Hills, Los Angeles County, California 90212.
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1                                FACTUAL ALLEGATIONS
2             A.    Plaintiff Avel Bacudio
3             12.   Plaintiff is a Filipino fashion designer residing in Quezon City,
4    Philippines.
5             13.   Plaintiff was born in Buhi, Camarines Sur, Philippines. He was born to
6    a poor family and due to financial resources limitations, he was not able to attend
7    formal college education. But despite such hindrances, he knew deep in his heart
8    that he wanted to become a fashion designer.
9             14.   He was able to attend fashion school and would then join inter-school
10   fashion competitions and eventually won awards.
11            15.   At barely 17 years old, Plaintiff’s talent was beginning to get
12   recognized as he was hired as a Fashion Assistant in a department store where his
13   job description included purchasing to ensure that the fashion displays were in
14   order.
15            16.   Plaintiff worked hard and continued joining more competitions until
16   he eventually competed in international competitions. Plaintiff then joined Young
17   Designer’s Guild of the Philippines. From there, Plaintiff was invited by producer
18   Richard Tan to participate in a bi-annual fashion show, Fashion Watch, which
19   showcases the work of selected local designers.
20            17.   In 2002, Plaintiff won the People’s Choice award in the Concours
21   International des Jeunes Createurs de Mode held in Manila and was given the
22   privilege to present his designs in Paris. In the following year, Plaintiff was chosen
23   as one of the ten best designers in the “Timeless Terno” contest spearheaded by the
24   Metropolitan Museum of Manila.
25            18.   His designs also garnered recognitions at the Asian Fashion Grand Prix
26   Contest in 1998, Fashion Connections Singapore in 2000, and the Young Fashion
27   Designers Show in China.
28
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1          19.    Come 2012, Metro Magazine awarded Plaintiff as the Breakthrough
2    Designer of the Year, with another accolade given by then Philippine President
3    Benigno Aquino III as an Ambassador of Peace.
4          20.    In 2014, he was honored as Asia’s Most Influential Designer at the
5    Mercedes-Benz Stylo Asia Fashion Week in Malaysia, where he was awarded by
6    the world-renowned Jimmy Choo.
7          21.    Plaintiff has ventured beyond his signature streetwear and avant-garde
8    designs into creating made-to-order suits and gowns as well. In recent years, he has
9    also delved in fragrances, home, and interior design.
10         22.    Recently, the current Philippine President Ferdinand “Bongbong”
11   Marcos, Jr. and the Philippine First Family consulted the Plaintiff for their suit and
12   dress design.
13         23.    Plaintiff’s success and popularity means that his designs are well-
14   sought after and internationally recognized.
15         B.     Defendant Claire Contreras
16         24.    Defendant is the host or blogger in her YouTube Channel “Boldyak
17   TV.” The Defendant introduces herself with the screen name or nickname
18   “Maharlika”.      She constantly posts videos and conducts live streams on her
19   “Boldyak TV” YouTube Channel where her content largely centers around political
20   commentaries.
21         25.    Defendant’s blogs largely center around crass and foul language which
22   are often paired with highly controversial gossips involving politicians and other
23   famous individuals, along with others, like Plaintiff, who allegedly interact with
24   these politicians.
25         26.    She claims that she was also originally a Marcos supporter and hates
26   the opposition but is “pro-Filipino” and would oppose the Marcos Jr.
27   Administration.
28
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1            27.   She claims that she is a well-connected person, personally knowing
2    and having spoken with key political figures, including, but not limited to,
3    President Ferdinand Marcos, Jr., First Lady Marie Louise Araneta-Marcos,
4    Congressman Ferdinand Alexander Araneta Marcos III, among others.
5            28.   She also claims to personally know Plaintiff in that she helped
6    introduced Plaintiff to the First Family of current Philippine Ferdinand Romualdez
7    Marcos Jr.
8            C.    Defendant’s Defamatory Remarks
9            29.   In this case, the Defendant has repeatedly published in her YouTube
10   Channel “Boldyak TV” on at least eleven (11) separate events where statements of
11   facts were made by the Defendant relating to Plaintiff which are all false, and thus
12   libelous.
13                 a.    That Plaintiff bribed Philippine House Representative
                         Ferdinand Alexander Araneta Marcos, III with a Rolex
14                       Watch
15
             30.   The Defendant published in her YouTube Channel “Boldyak TV” a
16
     video entitled “Sandro, Tumanggap Ng Rolex | Nagkatotoo Ang Vlog Natin Kay
17
     Sandro” (“Sandro, Received a Rolex | Our Vlog Regarding Sandro Became True”)
18
     on August 24, 2023. The Defendant claimed as a fact, that Avel Bacudio bribed
19
     Philippine House Representative Ferdinand Alexander Araneta Marcos III.
20
     (“Representative Sandro Marcos”). In particular, the Defendant falsely and
21
     maliciously stated that Plaintiff bribed Representative Sandro Marcos by giving a
22
     Rolex watch1:
23
             What is this about the Rolex? My countrymen, you should know that the
24
             child of “kitten” and Liza is already leading a syndicate. How’s that? He
25
26
     1
       English translations of the multiple defamatory statements are provided first, and
27   then the Filipino (the national language of the Philippines) published versions are
     presented.
28
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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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1        accepted a Rolex from Avel Bacudio, our former old friend. He accepted a
2        Rolex as a gift. So it’s bribery. So imagine my friend, my former friend that
3        I helped introduce to Liza Smuggs who is Avel Bacudio gave a Rolex to
4        Sandro Marcos who then accepted it through his Chief of Staff, Yeye Vivas.
5        Now, the question is…what’s the matter Maharlika you are just jealous
6        because you didn’t get a Rolex. I really won’t get a Rolex from Avel since,
7        first things first, I’m not the one who is giving projects to him so he and his
8        sibling and Yeye can earn money. They all got to buy houses. Jelai and Avel
9        also got to buy new properties worth 26 million because they were given
10       favor by Sandro and Yeye so that they can get Government Contracts like
11       the DPWH project of Jelai.
12       “Ano ngayon ung tungkol sa Rolex? Mga kababayan dapat nyong
13       malaman na ang anak ni Kuting at ni Liza ay ngayon pa lang, ay
14       naglelead na ng pagiging sindikato. Pano iyon? Dahil mismo ang
15       taong ito ay tumanggap ng Rolex kay Avel Bacudio, sa aking former
16       old friend. Tumanggap pa siya ng Rolex na regalo… So bribery ito. So
17       imagine nyo ang kaibigan ko, dati kong kaibigan na tinulungan kong
18       ipakilala kay Liza Smuggs na si Avel Bacudio ay binigyan ng Rolex si
19       Sandro Marcos na tinanggap naman niya sa pamamagitan ng kanyang
20       Chief of Staff na si Yeye Vivas. Ngayon ang tanong, eh ano naman
21       inggit ka lang Maharlika kasi ‘di ka binigyan ng Rolex, hindi talaga
22       ako bibigyan ng Rolex ni Avel kasi unang-una hindi naman ako ang
23       nagbibigay ng mga projects na magkapera siya at kasama ang kapatid
24       niya at kasama si Yeye na recently nakabili na nga sila parehong mga
25       bahay. Si Jelai at si Avel ay nakabili na rin ng bagong property which
26       is 26 milyon sa kadahilanan na binibigyan sila ng pabor ni Sandro at
27       ni Yeye na makakuha sila ng kontrata sa government katulad nalang
28       sa DPWH dito sa project ni Jelai.”
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1                                            -------
2          Avel himself admitted over text message that he gave Sandro a Rolex.
3          “Inamin ni Avel mismo sa text message na siya ay nagbigay kay
4          Sandro ng Rolex.”
5          31.   Under the same group or category of defamatory remarks, the
6    Defendant published in her YouTube Channel “Boldyak TV” a video entitled
7    “Sandro, Tumawag | LizaSmuggs, May Foreign Adviser” (“Sandro, Called |
8    LizaSmuggs, Has a Foreign Adviser”) on November 25, 2023. Again, the Defendant
9    falsely and maliciously reiterated that the Plaintiff bribed Representative Sandro
10   Marcos by giving him a Rolex watch:
11         Why Sandro, are you clean? Why did you accept the Rolex from Avel
12         Bacudio? Why did you accept the bribe to pursue your contracts with
13         DPWH? That’s not rotten? What do you call that? Very very rotten?
14         You idiot, you’re treating the citizens as fools.
15         “Bakit Sandro, malinis ka ba? Bakit mo tinanggap ang Rolex galling
16         kay Avel Bacudio? Bakit ka tumanggap ng bribe para maipursue ang
17         mga kontrata Ninyo sa DPWH? Hindi ba rotten yan? Ano tawag mo
18         dyan? Very very rotten? Gago kayo pinaggagago ninyo ang
19         taumbayan.”
20         32.   Under the same category or group of defamatory remarks, the
21   Defendant again published in her YouTube Channel “Boldyak TV” a video entitled
22   “Minamata Tayo Ng Mga Puti – Marcos Jr. Tapangtapangang Kuting” on
23   November 28, 2023. Again, the Defendant falsely and maliciously reiterated that
24   the Plaintiff bribed Representative Sandro Marcos by giving a Rolex watch:
25         What drama is woman beater Sandro who accepted a Rolex as a bribe
26         from Avel Bacudio. From all the contractors accepted by Yeye Vivas
27         and Ryan your bagman, what did you do? Where is it?
28
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1          “Anong drama ni Sandro jumbagero na tumanggap ng Rolex as bribe
2          galing kay Avel Bacudio. Galing sa lahat ng mga contractor ng
3          tinatangap ni Yeye Vivas, at ni Ryan na bagman mo, anong ginawa
4          mo?…nasaan na?”
5          33.   Under the same category of defamatory remarks, similar false and
6    libelous statements claiming, as a fact, that Plaintiff bribed Philippine
7    Representative Sandro Marcos by giving a Rolex watch were published again in
8    Defendant’s YouTube Channel “Boldyak TV” on January 13, 2024, in a blog
9    entitled “INQUIRER, Avel At Liza Smuggs, Kahit Mag Sanib-Pwersa Pa Kayo”
10   (“INQUIRER, Avel and Liza Smuggs, Even if You Join Forces”):
11         Next time I will report you to immigration on Monday that you were
12         carrying 10,000 dollars and that you did not pay tax because you used
13         cash to buy the Rolex in New York. Right, your bribe to Sandro
14         Marcos?
15         Next time isusuplong kita sa immigration sa Monday na nagbibitbit ka
16         ng 10,000 dollars at hindi ka nagbabayad ng tax kasi diba cash ang
17         pinambili mo ng Rolex sa New York, Right, na brinibe mo kay Sandro
18         Marcos?
19               b.     That Plaintiff received kickback from government projects,
                        particularly those implemented by the Department of Public
20
                        Works and Highways
21
22         34.   Under this category of defamatory remarks, Defendant published in
23   her YouTube Channel “Boldyak TV” entitled “Sandro, Nambugb0g | So young and
24   so corrupt – Sen. Imee Marcos” on November 2, 2023. She stated that Plaintiff is a
25   thief and published, claiming as a fact, that Plaintiff received “kickback” money
26   from various government infrastructure or public work projects, particularly those
27   implemented by the Department of Public Works and Highways (“DPWH”):
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1             I myself will tell you that Sandro Marcos accepted a Rolex as bribe
2             money coming from Avel Bacudio, the one doing designing now for
3             his mom and is tailoring barongs. Sandro Marcos accepted a Rolex, I
4             showed you our conversation… that he accepted the Rolex from Avel
5             Bacudio that was bought here in America. That’s personal, my
6             personal knowledge. I was told that. Why did he accept? Because
7             Sandro’s Chief of Staff is their coconspirator in DPWH. (Emphasis
8             supplied)
9             “Ako mismo ay sinabasabi ko sa inyo na si Sandro Marcos ay
10            tumangap ng Rolex as bribe money coming from Avel Bacudio yung
11            nag design design ngayon sa bukod ng nanay niya at nagtatahi ng
12            barong. Sandro Marcos ay tumangap ng Rolex, pinakita ko na sa inyo
13            yung conversation namin na Tumganggap siya ng Rolex galing kay
14            Avel Bacudio na binili dito sa Amerika. Kasi personal yun eh, personal
15            knowledge ko yun. Sinabi mismo sakin yun. Bakit siya tumatanggap
16            ng bribe galling kay Avel?... Kasi magkakasabwat sila sa mga
17            kontrata sa DPWH. (Emphasis Supplied)
18            35.   Under the same category of defamatory remarks, Defendant published
19   in her YouTube Channel “Boldyak TV” a video entitled “Kumpirmado Na Si
20   LizaJahas Ang Nasa Likod | DICT Lagot”. She reiterated that the Plaintiff is a thief
21   and published, as a fact, that Plaintiff received “kickback” money from various
22   government infrastructure or public work projects.
23            Even the designers are thieves, they become commissioners2… You’re
24            so pretty L.A.M.3 my old friend Avel Bacudio, they are
25
     2
26     “Commissioners” is Philippine term for people who accept “commissions” or
     “kickbacks”
27
     3
         L.A.M. are the initials of Philippine First Lady liza Araneta Marcos.
28
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1            commissioners.
2            “Pati mga designer nagnanakaw. Ay nagiging commissioner… Ang
3            ganda ganda mo L.A.M. mga dati kong friend si Avel Bacudio, mga
4            commissioner kayo”
5                  c.     That Plaintiff had no money before the Presidency of
                          current Philippine President Ferdinand Marcos Jr.
6
7            36.   Under this category of defamatory remarks, Defendant published in
8    her YouTube Channel “Boldyak TV” a video entitled “Inoferan Ako ni LizaSmuggs
9    vs Wakwak Vloggers” on November 26, 2023, claiming as a fact, that Plaintiff had
10   no money before the term or Presidency of current Philippine President Ferdinand
11   “Bongbong” Marcos, Jr. In particular, the Defendant maliciously and falsely stated
12   as a fact that Plaintiff could not even afford to pay the electricity bill of his fashion
13   shop:
14           If I am a paid blogger, if I were earning from government contracts
15           like my former friend Avel Bacudia, imagine from when he had no
16           money to pay for electricity for his tailor shop but since last year and
17           this year, he travelled 5 or 6 times, I don’t know I’m not updated with
18           his travel, but business class and rushed travels. How much is business
19           class? 6000-10000 dollars? Half a million pesos when you go to
20           Europe or America?
21           “If I am bayaran, kung ako ay kumikita sa kontrata ng gobyerno like
22           ung former friend ko na si Avel Bacudia, imagine mo Simula nung
23           walang pambayad ng kuryente sa kanyang patahian. Since last year
24           and this year, he travelled 5 times or 6 times, I don’t know di ako
25           updated sa travel niya business class, at mga madaliang travel.
26           Magkano ang business class 6000-10000usd, mahigit kalahating
27           milyon when you go to Europe when you go to Amerika.”
28
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1                 d.    That Plaintiff received assistance from Philippine First Lady
2                       Mrs. Lisa Araneta Marcos to process his and his family’s US
                        visa and Schengen visa and that such visas were issued
3                       through fraud.
4          37.    Under this category of defamatory remarks, the Defendant published
5    in her YouTube Channel “Boldyak TV” a video entitled “Liza Smuggs,
6    PUMUSLIT | UK Visa | US Visa FraudNi Jahas” on September 27, 2023, claiming
7    as a fact, that Plaintiff received assistance from Philippine First Lady Mrs. Lisa
8    Araneta Marcos to process Plaintiff and Plaintiff’s family US Visa and Schengen
9    Visa, and that the said visas were issued through fraud:
10         Liza herself was the one that fixed the visa of Avel Bacudio’s family.
11         He’s my former friend. I threw them away since they are part of the
12         cancer of society in taking from the people and I’ll have an expose with
13         Avel and Liza’s conspiracy. Remember this but besides this US visa
14         fixing, Avel told me himself that he approached (Liza) for his sibling…
15         then Liza gave you names, name actually, one person only to fix your
16         visa. And that is fraud.
17         “Si Liza mismo ang nag asikaso ng visa ng pamilya ni Avel Bacudio.
18         Dati ko ring kaibigan yan. The reason why pinagtatapon ko sila dahil
19         parte sila ng sakit ng lipunan na manganganamkam at meron pa
20         tayong pasabog na bonggang bongga sa sabwatang Avel at Liza
21         smuggs. Tandaan niyo yan maliban dito sa US visa na inaayos…
22         Kinuwento sakin mismo ni Avel na nilapit niya ang kanyang Kapatid
23         siya… then Liza gave you names, name actually, isang tao lang para
24         magasikaso ng iyong visa. And that is fraud.
25         38.    Under this sub-category of defamatory remarks, Defendant reiterated
26   in her YouTube Channel “Boldyak TV” on January 13, 2024 entitled “INQUIRER,
27   Avel At Liza Smuggs, Kahit Mag Sabi-Pwersa Pa Kayo” stating that Plaintiff
28
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1    received assistance from Philippine First Lady Mrs. Lisa Araneta Marcos to process
2    Plaintiff and Plaintiff’s family US Visa and Schengen Visa, and that the said visas
3    were issued through fraud:
4           Now you judge, Inquirer, who are the real fools here? The thieves who
5           stole from the public funds through tax evasion and you, Avel, who
6           stole from the public funds through overpricing and collusion with the
7           chief of staff who is Yeye Vivas under Sandro or your conspiracy with
8           Liza to have a US visa and a European Schengen visa for your family
9           at you coming back 4 or 5 times here in America carrying more than
10          10,000 dollars when you enter.
11          Ngayon kayo ang humusga Inquirer sino yung mga julol dito? Kayo
12          mga nagnakaw sa kaban ng bayan sa pamamagitan ng tax evasion at
13          ikaw Avel na nagnanakaw sa kaban ng kaban ng bayan sa
14          pamamagitan ng overpricing at pakikipagsabwatan sa Chief of Staff
15          na si Yeye Vivas ni Sandro o nakipagsabwatan ka kay Liza para
16          magkaroon ng US visa at European Shengen Visa ng iyong pamilya at
17          pabalik balik 4 times or 5 times bumalik dito sa Amerika at may bitbit
18          ka pang more than 10,000 dollars papasok dito.
19          39.   Defendant’s statements published in her YouTube Channel “Boldyak
20   TV” videos are referred to herein as, the “Statements”.
21          40.   The Statements are false but are asserted and presented as truth by the
22   Defendant. Unfortunately, a large majority of the viewers and followers of the
23   Defendant believes that the Statements are indeed true, causing damage to the
24   Plaintiff.
25          41.   Contrary to the Statements, the Plaintiff never gave Philippine
26   Representative Sandro Marcos any Rolex watch and Plaintiff has never bribed
27   Philippine Representative Sandro Marcos.
28
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1          42.    Contrary to the Statements, the Plaintiff never received any kickback
2    money or other form of illegal money from DPWH and other government projects.
3          43.    Contrary to the Statements, the Plaintiff was already a successful
4    fashion designer and financially stable even before the Presidency of Philippine
5    President Bongbong Marcos.
6          44.    Contrary to the Statements, the Plaintiff never obtained the assistance
7    of First Lady Mrs. Lisa Araneta Marcos in the application of his and his family’s
8    Schengen and US visa applications.
9          45.    On information and belief, numerous people viewed Defendant’s
10   Statements. The YouTube videos uploaded on the internet were collectively seen
11   and heard since August 24, 2023 until present, by at least 180,000 subscribers and
12   have collectively at least 890,150 views worldwide as of January 10, 2024, and
13   counting to this day.
14         46.    Defendant knew that her Statements were false when she made them.
15         47.    As a former friend of the Plaintiff, the Defendant should have known,
16   or at least could have easily known from several common friends, that the Plaintiff
17   never gave Philippine Representative Sandro Marcos any Rolex watch and Plaintiff
18   has never bribed Philippine Representative Sandro Marcos. In fact, the Defendant
19   is aware of and monitors the social media accounts of both Philippine
20   Representative Sandro Marcos and Plaintiff. Based on the said social media
21   accounts, the Defendant knew, or could have easily known, that Plaintiff never gave
22   Philippine Representative Sandro Marcos any Rolex watch.
23         48.    As a former friend of the Plaintiff, the Defendant should have known,
24   or at least could have easily known from several common friends, that the Plaintiff
25   is not involved in any public works or infrastructure projects. The Plaintiff is a
26   fashion designer and has no background or experience in civil works. Thus, the
27   Plaintiff has no transactions with the Philippine Department of Public Works and
28   Highways as he simply has no knowledge in infrastructure or civil works.
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1          49.    As a former friend of the Plaintiff, the Defendant personally knew that
2    Plaintiff was a successful fashion designer and financially stable even before the
3    Presidency of Philippine President Bongbong Marcos. Thus, the Statement that the
4    Plaintiff had no money before the Presidency of President Ferdinand Marcos, Jr.
5    but suddenly became rich due to the alleged relationship with government officials
6    within less than a year since the start of such presidency, is false and Defendant
7    knew that.
8          50.    As a former friend of the Plaintiff, the Defendant should have known,
9    or at least could have easily known from several common friends, that the Plaintiff
10   engaged a travel agency for their Schengen and US visa applications. Plaintiff’s
11   circle of friends knew that he hired a travel agency for his and his family’s Schengen
12   visa application – a fact which is well-documented. Thus, the Defendant knew, or
13   it would have been easy to verify, that the Plaintiff went through the usual Schengen
14   visa application process with the assistance of a travel agency.
15         51.    The Defendant claims that it was Plaintiff himself who was her source
16   and that Plaintiff personally told her the Statements. Plaintiff also claims that she
17   has proof to support her Statements.
18         52.    However, easily verifiable evidence points to the conclusion that the
19   Statements of the Defendants are false. Defendant has also never presented any
20   proof to support her Statements, which is understandable as there is no proof.
21         53.    Plaintiff believes the Defendant fabricated the Statements to increase
22   views of her YouTube channel and derive more money.
23                             FIRST CLAIM FOR RELIEF
24                       (Defamation Under California Law)
25         54.    Plaintiff repeats and incorporates by reference the allegations
26   contained in the preceding paragraphs.
27         55.    The California Civil Code section 44 provides that defamation is
28   effected by either libel or slander. The California Civil Code section 45, in relation
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1    to section 44, provides for the definition of libel. It states that libel is a false and
2    unprivileged publication by writing, printing, picture, effigy, or other fixed
3    representation to the eye, which exposes any person to hatred, contempt, ridicule,
4    or obloquy, or which causes him to be shunned or avoided, or which tends to injure
5    him in his occupation.
6          56.    Defamation is a statement “which exposes any person to hatred,
7    contempt, ridicule, or obloquy, or which causes him to be shunned or avoided or
8    which has a tendency to injure him in his occupation.”
9          57.    Thus, the elements of a defamation claim are:
10                a. Publication of a statement of fact;
11                b. That is false;
12                c. Unprivileged;

13                d. Has a natural tendency to injure or which causes “special damage”;
                      and
14
                  e. The defendant’s fault in publishing the statement amounted to at
15
                      least negligence.
16
           58.    The definition of defamation per se where a statement is so inherently
17
     damaging to one’s reputation that the plaintiff need not prove that they suffered
18
     actual damages. The false statements of the Defendant claiming that the Plaintiff
19
     bribed a government official, and that the Plaintiff received money from
20
     government projects through illegal and corrupt means, that Plaintiff obtained a visa
21
     through fraud, are clearly inherently damaging to Plaintiff’s reputation.
22
           59.    Defendant specifically intended that the false Statements that she made
23
     were about Plaintiff as she identified the Plaintiff by his complete name – Avel
24
     Bacudio.
25
           60.    Defendant published the Statements to her publicly viewable YouTube
26
     Channel “Boldyak TV”. Numerous people viewed Defendant’s published
27
     Statements. The YouTube videos uploaded on the internet were collectively seen
28
                                                 16
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1    and heard since August 24, 2023, until present by at least 180,000 subscribers and
2    have collectively at least 890,150 views worldwide as of January 10, 2024, and
3    counting to this day. There is no dispute that the Defendant published her
4    Statements.
5           61.    The Defendant claimed and presented as a fact, that the Plaintiff is a
6    corruptor of public officials, feeding off the taxpayers of the Filipino people by
7    giving bribes, and in exchange receives kickbacks and assistance to obtain
8    fraudulent visas. Based on the various comments of Defendant’s viewers, there can
9    be no question that Defendant presented the Statements as facts, and that her
10   viewers indeed received the Statements to be statements of facts.
11          62.    Even worse, to give Defendant’s false Statements some semblance of
12   being factual that Plaintiff indeed receives illegal public money, the Defendant
13   further adds that Plaintiff had no money before the Presidency of the current
14   Philippine President Bongbong Marcos but had already acquired substantial
15   properties within less than a year from the start of such Presidency.
16          63.    As a former friend, the Defendant has several common friends with
17   Plaintiff, and from these common friends the Defendant already knew, or could
18   have reasonably and easily verified, that her Statements are false.
19          64.    In the alternative to the preceding paragraph, the Defendant acted in
20   reckless disregard of the falsity of her Statements when she published them because
21   Defendant had no credible evidence supporting her Statements.
22          65.    Indeed, Defendant has published that her alleged source of this false
23   information is Plaintiff, and Plaintiff attests that this is false.
24          66.    Based on the foregoing, the Plaintiff has the foregoing causes of action
25   for defamation, specifically libel, involving the publication of false Statements,
26   claiming to be fact, against the Plaintiff.
27          67.    The YouTube videos are so libelous on its face that Plaintiff
28   experienced numerous hateful statements and ridicule from the public. Among the
                                                   17
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1    hateful statements directed against the Plaintiff is “Avel the evil”, “Avel should be
2    subjected to lifestyle check”, “Avel is a user”, “wasak si Abel (Abel is ruined)”,
3    among others. Defendant’s false statements that Plaintiff bribed a government
4    official, a recipient of government corruption money and a recipient of a
5    fraudulently obtained visa, exposed Plaintiff to contempt, ridicule and obloquy.
6          68.    Defendant’s defamatory statements about Plaintiff constitute
7    defamation per se because the statements are defamatory on their face, and nothing
8    needs to be added or explained to make their defamatory meaning understood.
9    Moreover, the defamatory statements are defamatory per se because they explicitly
10   and falsely charge Plaintiff with criminal activity.
11         69.    As a proximate result of the above-described publication, Plaintiff has
12   suffered loss of his reputation was tarnished causing some of his clients to look at
13   him with disfavor, being shamed in public, mortification, grave injury to his
14   feelings, anxiety to the point of sleepless nights and inability to work, all to his
15   damage in the total approximate amount of $2,000,000.00.
16         70.    The above-described Statements are not privileged. The Statements
17   were published by Defendant with malice, hatred, vengeful spite to, in the
18   Defendant’s own words, a former friend. The defamatory statements were
19   continuous, repetitive, baseless, and harmful, indicative of the reckless disregard
20   and malice against Plaintiff.
21         71.    As a result of Defendant’s wrongful conduct, Plaintiff has suffered
22   harm to his reputation and has suffered undue shame, embarrassment, and loss of
23   business and relationships.
24         72.    Defendant’s conduct was a substantial factor in causing Plaintiff’s
25   damages, harm, and injuries alleged herein, all in amounts according to proof and
26   in excess of the jurisdictional minimum of this Court.
27         73.    Plaintiff is informed and believes and thereon alleges that the
28   aforementioned acts of Defendant were willful, oppressive, fraudulent, and/or
                                                18
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1    malicious. The conduct of Defendant in publishing these false statements about
2    Plaintiff, with knowledge of their falsity, for the express purpose of harming
3    Plaintiff is intentional and despicable. Plaintiff is therefore entitled to punitive and
4    exemplary damages.
5                                  JURY TRIAL DEMAND
6          Plaintiff hereby respectfully demands a jury trial in this action.
7                                 REQUEST FOR RELIEF
8          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment
9    in its favor and against Defendant for:
10         1.     An award of damages to Plaintiff and against Defendant Contreras in
11                an amount to be proved at trial, comprising the following:
12                a. Compensatory damages in the amount of $2,000,000.00;
13                b. Punitive damages to be proven at trial for Defendant’s willful,
14                    deliberate, and malicious actions;

15                c. Pre-judgment interest to the extent allowed by law;
                  d. For an order awarding Plaintiff his reasonable attorneys’ fees and
16
                      costs where allowed by law; and
17
                  e. Plaintiff’s Costs of suit; and
18
           2.     Such other and additional relief as the Court may deem just and proper.
19
20   Dated: January 23, 2024                     DUANE MORRIS LLP

21                                             By:/s/ Cyndie M. Chang________
22                                               Cyndie M. Chang
                                                 Attorneys for Plaintiff
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